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UNITED STATES DISTRICT COURT                                           ! t ,LECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                          : [)OC #:
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 GUSRAE KAPLAN NUSBAUM PLLC, et al.,
                                                                    19cv06200 (DF)
                                   Plaintiffs,
                                                                    ORDER
                      -against-

 APPLIED ENERGETICS, INC., et al.,

                                   Defendants.

DEBRA FREEl\fAN, United States Magistrate Judge:

       This case having been referred to this Court for all purposes on consent of the parties,

pursuant to 28 U.S.C. § 636(c); and the Court having held an initial pretrial conference on

November 13, 2019, with counsel for all parties; and, prior to the conference, Defendants having

filed motions to dismiss the Complaint, with certain of the Defendants having argued, inter alia,

that the Complaint should be dismissed against them for lack of personal jurisdiction; and the

Court having determined, at the conference, that the jurisdictional issue should be considered

before the Court considers other potentially dispositive issues and before the parties engage in

full discovery regarding the parties' claims and defenses; it is hereby ORDERED, as stated at the

conference, as follows:

       1.      The motions to dismiss filed by defendants Applied Energetics, Inc., Gregory

Quarles, Bradford Adamczyk, Jonathan Barcklow, John Schultz, Dan Baer, Enterprise Counsel

Group, and Ben Pugh (Dkts. 80, 87) are denied without prejudice, except to the extent the

motions are based on a claimed lack of personal jurisdiction. Plaintiffs shall file a consolidated

opposition to those motions (with regard to the personal jurisdiction arguments only) no later

than December 13, 2019. If Plaintiffs contend that jurisdictional discovery is necessary, then
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they should explain this, as well as the scope of discovery sought, in their opposition.

Defendants shall file their replies, if any, no later than January 10, 2020.

       2.      The motion to dismiss filed by defendants Masur Griffitts+ LLP and

Mary O'Hara (Dkt. 84) is denied without prejudice, and the time for these defendants to

answer the Complaint is extended sine die, pending further Order of the Court.

Dated: New York, New York
       November 19, 2019
                                                       SO ORDERED



                                                       DEBRA FREEMAN
                                                       United States Magistrate Judge

Copies to:

Counsel of Record (via ECF)
